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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK


TAHEEN HAYES
                                                    Plaintiff,            DECLARATION OF
                          -against-                                          SERVICE

T. DAHKLE, ET. AL,                                                           16-CV-1368
                                                 Defendants.
                                                                              TJM/CFH


       I, BRITTANY ERICSEN, declare pursuant to 28 USC § 1746, that on October 29, 2018,

I served the annexed Letter regarding OSI document with an enclosure containing the

declaration of Bobbi Facteau upon the following individual, by depositing a true copy thereof,

properly enclosed in a sealed, postpaid wrapper, in a post office box in the City of Albany, a

depository under the exclusive care and custody of the United States Postal Service, directed to

the individual at the address, designated for that purpose, as follows:

Taheen Hayes, 05A3850
Upstate Correctional Facility
P.O. Box 2001
309 Bare Hill Road
Malone, NY 12953

Dated: October 29, 2018
       Albany, New York
                                              s/ Brittany Ericsen
                                              BRITTANY ERICSEN
